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 1 KYLE R. KNAPP
   Attorney at Law
 2 California State Bar No. 166597
   1120 D Street, Suite 100
 3 Sacramento, CA 95814
   Telephone:(916) 441-4717
 4

 5 Attorney for XAVIER JOHNSON

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 7
                                 UNITED STATES DISTRICT COURT
 8
                                 EASTERN DISTRICT OF CALIFORNIA
 9
10 UNITED STATES OF AMERICA,              )   CASE NO.   12-CR-00250 - GEB
                                          )
11                          Plaintiff,    )
                                          )
12                                        )
     v.                                   )
13                                        )   [PROPOSED] STIPULATION AND ORDER TO
                                          )   CONTINUE JUDGEMENT AND SENTENCING
14 XAVIER JOHNSON,                        )
                                          )
15                          Defendant.    )
                                          )
16 __________________________________     )

17

18        IT IS HEREBY STIPULATED by and between the parties hereto through their

19 respective counsel, Matthew Morris, Assistant United States Attorney, attorney for
20 plaintiff; Timothy Delgado, Assistant United States Attorney, attorney for

21 plaintiff; Kyle Knapp, attorney for defendant, XAVIER JOHNSON, that the previously

22 scheduled sentencing date of October 27, 2017, be vacated and the matter set for

23 sentencing on December 8, 2017 at 9:00am.

24        This continuance is requested to allow counsel additional time to finalize

25 research on several sentencing memorandum issues relevant to the guideline analysis.

26 In addition, lead counsel for the government is unavailable on the currently set
27 sentencing date. I have contacted Mr. Delgado, and Ms. Morehouse and they have no

28 objection to the continuance.
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 1
          In light of the above request the following revised sentencing schedule is
 2
     requested - Judgement and Sentencing – December 8, 2017; Reply or Statement of Non
 3
     Opposition to Motion to Correct PSR/Formal Objections due December 1, 2017; the
 4
     final PSR and formal objections have been filed.
 5
     Dated: October 20, 2017                   Respectfully submitted.
 6

 7                                                          /s/ Kyle R. Knapp

 8                                                      Kyle R. Knapp
                                                        Attorney for Defendant, Xavier
 9                                                      Johnson
10 Dated: October 20, 2017                     Respectfully submitted.

11
                                                            /s/ Matthew Morris
12                                                      Matthew Morris
                                                        Assistant U.S. Attorney
13                                                      Attorney for Plaintiff

14 Dated: October 20, 2017                     Respectfully submitted.

15
                                                            /s/ Timothy Delgado
16                                                      Timothy Delgado
                                                        Assistant U.S. Attorney
17                                                      Attorney for Plaintiff

18

19 IT IS SO ORDERED.
20
     Dated: October 24, 2017
21

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